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                                                     [Docket Nos 72, 74, 75]

                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE


8600 LANDIS, LLC,

           Plaintiff,                      Civil No. 17-2234 (RMB/JS)

            v.                                      OPINION

CITY OF SEA ISLE CITY, et al.,

           Defendants.



APPEARANCES:

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BUMB, UNITED STATES DISTRICT JUDGE:

     In a previous Opinion and Order, this Court extensively

discussed the multitude of pleading deficiencies contained in

Plaintiff’s Amended Complaint.       See 8600 Landis, LLC v. City of Sea

Isle City, No. CV 17-2234 (RMB/JS), 2018 WL 1509088 (D.N.J. Mar. 27,

2018).   Nonetheless, the Court allowed Plaintiff an opportunity to

amend its Amended Complaint in an attempt to cure, if possible, the

deficiencies identified.      See id. at *14.    Plaintiff did amend, and

all Defendants presently move to dismiss the claims asserted in the

Second Amended Complaint, asserting that Plaintiff’s attempt to put

more factual meat on the bones of its pleading still falls short of

stating a plausible claim for relief. 1

     The Court stated in its previous opinion that “if upon an

appropriate motion the Court determines that the [Second] Amended

Complaint fails to state a federal claim, the Court intends to



     1  Plaintiff states that it has “removed” from the Second
Amended Complaint its previous claims for: (a) unfair competition,
(b) abuse of process, (c) negligence, and (d) its claim for punitive
damages against the City of Sea Isle City. (Opposition Brief, Dkt
77, p. 1) Although the Court previously directed that “[i]f
Plaintiff decides that it no longer wishes to pursue . . . any . . .
claims presently asserted in the Amended Complaint, it shall file
the appropriate Notice of Voluntary Dismissal or Stipulation of
Dismissal,” 8600 Landis, LLC, 2018 WL 1509088 at *14 n.23, no notice
or stipulation has been filed on the Court’s docket. In light of
the Court’s directive, combined with Plaintiff’s statement in its
brief, the Court construes Plaintiff’s inaction as a concession that
the pleading deficiencies identified with respect to these claims
cannot be cured, and these claims will be dismissed with prejudice.
See Duke University v. Apotex, Inc., 2015 WL 2383408 at *2 (M.D.N.C.
2015) (“the Court has the discretion to impose conditions on a grant
of leave to amend (such as deeming eliminated claims dismissed with
prejudice)[.]”).
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decline to exercise supplemental jurisdiction over this suit

pursuant to 28 U.S.C. § 1367(c)(3).”        8600 Landis, LLC, 2018 WL

1509088 at *14.    The Court now holds that the Second Amended

Complaint fails to plausibly plead sufficient facts in support of

any federal claim.    Accordingly, Defendants’ Motions to Dismiss will

be granted as to the federal claims and the Court will decline

supplemental jurisdiction over the remaining state law claims. 2

I.   FACTS

     As the Second Amended Complaint merely adds additional details

and context to the factual allegations contained in the Amended

Complaint, the Court will primarily rely on its recitation of the

alleged facts in its previous opinion.        See 8600 Landis, LLC, 2018

WL 1509088 at *1-2.     Generally and succinctly, this is a local land-

use and zoning dispute; a dispute Plaintiff had adjudicated in its

favor in state court but which Plaintiff seeks to continue before

this Court under various federal and state causes of action.

Plaintiff’s theory of its case is that Defendant Desiderio, who is a

member of Sea Isle City’s planning board, as well as a local

business owner and the Mayor of Sea Isle City, sought to illegally

“damage and delay” Plaintiff’s development of a 13-unit residential

rental and restaurant space allegedly with the motive of eliminating

Plaintiff as a competitor in the market for restaurant and



     2  In light of the disposition of the motions filed by the Sea
Isle Defendants and Defendant Baldini, the Court need not reach the
issues raised by the Restaurant Defendants’ Motion to Dismiss which
do not relate to the merits of the federal claims.
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hospitality services.     (Opposition Brief, Dkt 77, p. 4)        The other

individual Defendants, allegedly at Defendant Desiderio’s direction

and/or in conspiracy with him, assisted, or attempted to assist,

Desiderio in his alleged plan to keep his alleged competitor out of

the market.     (Id.)

      The Second Amended Complaint asserts the following federal

claims: violation of Plaintiff’s substantive due process and equal

protection rights under 42 U.S.C. § 1983, conspiracy under § 1983

and 42 U.S.C. § 1985, and violation of the Sherman Act, 15 U.S.C. §

1 et seq. 3

II.   MOTION TO DISMISS STANDARD

      The Court incorporates herein by reference, and applies, the

legal standard as set forth in its previous opinion in this case.

See 8600 Landis, LLC, 2018 WL 1509088 at *3.

III. ANALYSIS

  A. Substantive due process

      As discussed in the previous Opinion, the issue is whether

Plaintiff has plausibly pled facts supporting a conclusion that

Defendant Desiderio and others engaged in the type of egregious

self-dealing that shocks the judicial conscience.          8600 Landis, LLC,




      3 For completeness, the state law claims are: violation of the
New Jersey Civil Rights Act, tortious interference with prospective
economic advantage, common law conspiracy, and violations of the New
Jersey Antitrust Act. However, as stated above, the Court does not
rule on these claims.

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2018 WL 1509088 at *4. 4    “[T]he standard is sufficiently high to

‘avoid converting federal courts into super zoning tribunals.’”

Selig v. N. Whitehall Twp. Zoning Hearing Bd., 653 F. App’x 155, 157

(3d Cir. 2016) (quoting Eichenlaub v. Twp. of Indiana, 385 F.3d 274,

285 (3d Cir. 2004), and citing United Artists Theatre Circuit, Inc.

v. Twp. of Warrington, 316 F.3d 392, 402 (3d Cir. 2003)).           Moreover,

in the land-use context, the Third Circuit has cautioned that “not .

. . every violation of state law [should be] ‘constitutionalized’

through the application of the substantive due process clause, and

[] District Court[s] [should be] properly concerned with preventing

this provision from turning into a broad authorization to review

state actors’ compliance with state law.”        Whittaker v. County of

Lawrence, 437 F. App’x 105 (3d Cir. 2011). 5



     4  The parties do not dispute that Plaintiff has a property
interest that is protected by the Due Process Clause.

     5  See also United Artists, 316 F.3d at 402 (“every appeal by a
disappointed developer from an adverse ruling of the local planning
board involves some claim of abuse of legal authority, but it is not
enough simply to give these state law claims constitutional labels
such as ‘due process' or ‘equal protection’ in order to raise a
substantial federal question under section 1983. Land-use decisions
are matters of local concern, and such disputes should not be
transformed into substantive due process claims based only on
allegations that government officials acted with ‘improper’
motives.”); Whittaker, 437 F. App’x at 109 (“the Property Owners
simply allege that the defendants did not follow state law in taking
their property. While this certainly is not conduct without a
remedy, the remedy is not provided by the Federal Constitution’s
substantive due process clause. For this reason, we will affirm the
District Court’s dismissal of the substantive due process claim.”);
Blain v. Twp. of Radnor, 167 F. App’x 330, 333 (3d Cir. 2006)
(“Th[e] [shocks the conscience] standard’s stringency reflects
maintenance of the proper proportions of constitutional, as opposed
to ordinary tort, violations.”); Maple Properties, Inc. v. Twp. of
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     With this legal foundation in mind, the Court turns to the

factual allegations of the Second Amended Complaint.          As stated in

the previous Opinion, the Court’s focus is on the facts-- not bald

assertions, conclusions or mere labels. 6       Plaintiff alleges that

Defendant Desiderio, at all relevant times, “owned” Kix McNutley’s

and Sea Isle Inn, both of which are located at 6400 Landis Avenue in

Sea Isle City.    (Second Amend. Compl., “S.A.C.,” ¶¶ 16, 20-21)

Defendant Desiderio allegedly holds a liquor license that is

associated with one, or both, of those establishments.           (S.A.C. ¶

25-26)   Plaintiff allegedly also holds a liquor license 7, and

allegedly, it was for this reason that on May 10, 2010 Defendant

Desiderio recused himself from the consideration of, and abstained

from the vote on, Plaintiff’s predecessor-in-interest’s zoning



Upper Providence, 151 F. App’x 174, 180 (3d Cir. 2005) (“we have
previously recognized that the politics and animosities that often
animate local decision-making are not matters of constitutional
concern.”); see generally, City of Sacramento v. Lewis, 523 U.S.
833, 863–64 (1998) (rejecting a constitutional standard that “would
make the Fourteenth Amendment a font of tort law to be superimposed
upon whatever systems may already be administered by the States.”).

     6  This principle is particularly important in the substantive
due process analysis where “[w]hat is [conscience] shocking depends
on the factual context.” Selig, 653 F. App’x at 157 (citing United
Artists). Therefore, Plaintiff’s explanation in its opposition
brief that the Second Amended Complaint “includes allegations of
self-dealing, where public officials took advantage of their
positions to benefit themselves and stifle competition to their
personal businesses” (Opposition Brief, Dkt 77, p. 24), does little
to advance the legal analysis.

     7  Allegedly, in Sea Isle City, there are only eight liquor
licenses of the class that Plaintiff and Defendant Desiderio hold.
(S.A.C. ¶ 74)

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application.    (Id. ¶ 26)    Notably, every other Board Member in

attendance at the meeting --seven members total, excluding Defendant

Desiderio-- voted in favor of Plaintiff’s application, and it was

approved.    (Id. Ex. D)

     Nonetheless, Plaintiff alleges in conclusory fashion that after

the Board Meeting, Defendant Desiderio “stayed involved” “behind the

scenes” to “undermin[e] Plaintiff’s project.”         (S.A.C. ¶¶ 27, 44)

Only two examples are alleged, one rather conclusorily, and one

undermined by the exhibits Plaintiff attaches to the Second Amended

Complaint.    The actions alleged are: (a) Defendant “had” two

unidentified “business owners” “approach . . . a representative of

Plaintiff to say that if Plaintiff sold their [sic] units instead of

renting them, their [sic] problems would go away” 8; and (b) twice

“received correspondence [from Desiderio despite his purported

recusal and abstention] relating to Plaintiff’s project.” (S.A.C. ¶¶

28, 49)     The “correspondence”-- attached as Exhibits H and N to the

Second Amended Complaint-- merely reveals that Defendant Desiderio

was one of many other town officials carbon-copied on the two

letters concerning the progress of Plaintiff’s project.           Defendant

Desiderio allegedly was motivated to take these actions by a desire

to indirectly benefit Kix McNutly’s and Sea Isle Inn, through



     8  It is not clear whether this incident occurred before or
after Defendant Zoning Officer Cornelius Byrne allegedly “refused to
issue the necessary permits for the first floor restaurant space” of
Plaintiff’s project. (S.A.C. ¶ 47) If it occurred before, the
Second Amended Complaint is not clear as to what “problem” there
might have been at that time.
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alleged decreased competition from Plaintiff’s project once it

opened.   (S.A.C. ¶ 27, 49, 61)      In conclusory fashion, Plaintiff

also alleges that Defendant Desiderio “directed” unspecified conduct

of the other Sea Isle City Defendants, without specifying which

Defendants.   (S.A.C. ¶¶ 5, 61, 90, 100)

     The Second Amended Complaint further alleges that Defendant

Byrne, the Zoning Officer who issued the Stop Work Order, is also a

bartender at Kix McNutley’s.      (S.A.C. ¶¶ 3, 88)      While bartending

one night, Defendant Byrne allegedly told “a representative of

Plaintiff” that with regard to Plaintiff’s project, Byrne “was

acting on orders from” Defendant Desiderio.         (S.A.C. ¶ 89) 9

     According to Plaintiff, these allegations support a conclusion

that Defendants Desiderio and Byrne engaged in self-dealing, and

Plaintiff asserts, Eichenlaub states that self-dealing meets the




     9  The Second Amended Complaint is vague as to what Defendant
Desiderio allegedly “ordered” Defendant Byrne to do. Notably, the
Second Amended Complaint clearly pleads that Defendant Byrne issued
the Stop Work Order after asking for, and receiving, Defendant
Baldini’s legal opinion on the matter. (S.A.C. ¶¶ 52-53) The
Second Amended Complaint specifically alleges that “[a]s a result of
Paul J. Baldini’s improper legal opinion and in reliance on
Baldini’s conclusions, on September 23, 2015, Mr. Byrne improperly
issued, by correspondence, a Stop Work Order to Plaintiff, which
significantly delayed Plaintiff from finishing construction on the
first floor restaurant space and caused substantial monetary
damages.” (S.A.C. ¶ 57; emphasis added); (see also S.A.C. ¶ 5,
alleging that Defendants Byrne and Baldini “improperly revoked
Plaintiff’s approvals necessary to complete [its] project.”). The
Second Amended Complaint does not allege that Defendant Desiderio
ordered Byrne to issue the Stop Work Order, nor does it allege that
Defendant Desiderio had any involvement with the drafting of
Defendant Baldini’s legal opinion.

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shocks the conscience standard.       See 385 F.3d at 286 (“as counsel

for appellants acknowledged during oral argument, there is no

allegation of corruption or self-dealing here.”).          A comprehensive

reading of Eichenlaub and the cases discussed therein, however,

demonstrates that the allegations of the Second Amended Complaint

are not sufficiently egregious to support a substantive due process

claim.    Rather, the allegations concern a vigorously contested local

land use dispute, one which a state court judge has already

adjudicated in part.     Thus, this Court will avoid becoming a “super

zoning tribunal[].”     Selig, 653 F. App’x at 157 (internal citation

and quotation omitted).

     Eichenlaub provides two “illustrat[ions] [of] the kinds of

gross misconduct that have shocked the judicial conscience.”            385

F.3d at 285.    First, Conroe Creosoting Co. v. Montgomery County, 249

F.3d 337 (5th Cir. 2001), as explained by the Third Circuit in

Eichenlaub, 10 involved allegations that the defendants “fraudulently

converted a tax levy for a $75,000 deficiency into an unauthorized

seizure and forced sale and destruction of an $800,000 ongoing

business.”    385 F.3d at 285.    The Third Circuit explained that, in

addition to what “amounted to a claim of an unconstitutional

taking,” the facts also “carried a whiff of self-dealing” insofar as

the principal defendant’s friends allegedly helped accomplish the




     10 Maple Properties, 151 F. App’x at 180, also cites Conroe as
an example of “patently egregious behavior recognized . . . to
constitute a substantive due process claim.”
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taking by performing the auction services.        Id.   Also in Conroe, one

of the defendants was alleged to have “signed a false affidavit in

support of a tax warrant” in furtherance of the taking.          249 F.3d at

342.

       Second, in Eichenlaub the Third Circuit explained that

“Associates in Obstetrics & Gynecology v. Upper Merion Township, 270

F.Supp.2d 633 (E.D. Pa. 2003), is also a case that implicates more

than just disagreement about conventional zoning or planning rules”

because Associates in Obstetrics involved “allegations of hostility

to constitutionally-protected activity,” namely, the provision of

abortion services.    385 F.3d at 285.

       It is thus clear, after considering Eichenlaub’s illustrations,

that the factual allegations of the Second Amended Complaint do not

amount to conscience shocking behavior by local zoning officials.

First, both Conroe and Associates in Obstetrics involved allegations

of an underlying violation of constitutional rights; a taking in

Conroe, and the interference with access to abortion services in

Associates in Obstetrics.     In this case, no underlying

constitutional violation is alleged. 11



       11
        Plaintiff alleges an underlying violation of the Sherman
Act, but Plaintiff’s rights in that regard arise from federal
statute, not the United States Constitution. Eichenlaub and
subsequent cases are clear that the relevant inquiry is whether
“local officials are accused of seeking to hamper development in
order to interfere with otherwise constitutionally protected
activity.” 385 F.3d at 286 (emphasis added); Button v. Snelson, 679
F. App’x 150, 154 (3d Cir. 2017) (citing Eichenlaub); Selig, 653 F.
App’x at 157 (quoting Eichenlaub); Perano v. Twp. of Tilden, 423 F.
App’x 234, 238 (3d Cir. 2011) (observing that the local officals’
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     Second, while “[t]here may be zoning disputes where, in the

absence of a separately protected constitutional right, allegations

of personal and political animus sufficiently shock the conscience

in order to state a due process claim,” Tucker Industrial Liquid

Coatings, Inc. v. Borough of East Berlin, 656 F. App’x 1, 7 (3d Cir.

2016) (emphasis added), this is not such a case.         In this regard,

Ecotone Farm, LLC v. Ward, 639 F. App’x 118 (3d Cir. 2016), provides

a contrasting example.

     In Ecotone, there was no allegation of interference with a

separate constitutional right, yet the Third Circuit held that the

plaintiff had stated a substantive due process claim.          In that case,

the plaintiff alleged a campaign by local officials of “harassment

and obstructionism” “over the course of several years motivated by

personal vendettas.”    639 F. App’x at 126.      The Court explained that

the factual allegations supported a plausible conclusion that local

officials “repeated[ly] abuse[d] government power with the

deliberate aim of harming someone.”        Id.

     In this case, Plaintiff does not allege a years long pattern of

“corruption and repeated abuse of power,” “motivated by personal




acts in Eichenlaub “were not enough to shock the conscience when
those actions were not coupled with interference with a
constitutionally protected activity or ethnic bias.”); Dotzel v.
Ashbridge, 306 F. App’x 798, 801 (3d Cir. 2009) (“There is no
evidence that the supervisors’ conduct involved self-dealing or
interfered with constitutionally protected activity.”). In any
event, as discussed infra, Plaintiff fails to state a claim for
violation of the Sherman Act.

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vendettas,” and done with the purpose to harass and injure, like

that alleged in Ecotone.     639 F. App’x at 126.      Nor does it allege

fraudulent-- indeed, potentially criminal-- activity, like that

alleged in Conroe.    At most, a very generous reading of the Second

Amended Complaint supports only the inference that Defendant

Desiderio, and perhaps Defendant Byrne, attempted-- unsuccessfully--

to pressure Plaintiff to change its intended use of the 13

residential units it planned to build. 12      Perhaps it may be inferred

from the facts of the Second Amended Complaint that Defendant

Desiderio had an improper motive-- i.e., self-enrichment that might

indirectly result from Plaintiff’s change of plans-- however, the

law has been clear since United Artists was decided 15 years ago

that improper motive is not enough.        See, e.g., Locust Valley Golf

Club, Inc. v. Upper Saucon Twp., 391 F. App’x 195, 199-200 (3d Cir.

2010) (concluding that Plaintiff’s evidence of “self-dealing”



     12Though not argued in its opposition briefs, Plaintiff’s
Second Amended Complaint appears to suggest that Defendant Paul
Baldini somehow acted ultra vires. In particular, the Second
Amended Complaint alleges that “Sea Isle City specifically conceded
in Court to Judge Mendez that Baldini, as Solicitor, had no legal
right to set aside the Plaintiff’s Planning Board approvals.”
(S.A.C. ¶ 56) First, the transcript of the hearing before Judge
Mendez, attached as Exhibit S to the Second Amended Complaint, is
somewhat equivocal, and it may not be fair to characterize what was
said as a “specific[] conce[ssion].” (Id.) In any event, even if,
as a legal matter, the City Solicitor lacks authority to “set aside”
a zoning board approval or issue a Stop Work Order, this fact would
not plausibly support a conclusion that Defendant Baldini acted
egregiously as a matter of federal constitutional law because the
Second Amended Complaint specifically pleads that Defendant Zoning
Officer Byrne, rather than Defendant Baldini, issued the Stop Work
Order. (S.A.C. ¶¶ 6, 57)

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amounted to, “at worst . . . improper motives.         Without more,

improper motives do not shock the conscience as a matter of law.”);

see also, Guiliani v Springfield Twp., 726 F. App’x 118, 123 (3d

Cir. 2018) (“In United Artists, we applied Supreme Court precedent

and rejected the improper-motive standard.        We ruled that the

substantive due process test is, instead, whether local officials’

conduct shocks the conscience.”);       Chainey v. Street, 523 F.3d 200,

220 (3d Cir. 2008) (“merely alleging an improper motive is

insufficient, even where the motive is unrelated to the merits of

the underlying decision.”) (citing United Artists). 13        Accordingly,

the Sea Isle Defendants’ and Defendant Baldini’s Motions to Dismiss

will be granted as to the substantive due process claim.

  B. Equal protection

     In the land use context, substantive due process claims are

often accompanied by equal protection “class of one” claims.           See,

e.g., Tucker, 656 F. App’x at 7;      Whittaker, 437 F. App’x at 109;

Perano, 423 F. App’x at 238.      As the cited cases demonstrate, the

class of one claims usually fare no better than the due process

claims.   See also, Eichenlaub, 385 F.3d at 287 (“we do not view an

equal protection claim as a device to dilute the stringent




     13 See also, Glob. Tower Assets, LLC v. Town of Rome, 810 F.3d
77, 91 (1st Cir. 2016) (“the Applicants’ vague allegations of
conflicts of interest and financially motivated conspiracy do not--
at least without far more-- show that the Planning Board acted in
the kind of conscience-shocking fashion that we require for
substantive due process challenges to make it past the gate.”).

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requirements needed to show a substantive due process claim.           It may

be very unlikely that a claim that fails the substantive due process

test will survive under an equal protection approach.”). 14         The same

is true in this case.

       In the previous opinion, the Court held that Plaintiff had not

adequately identified the relevant comparator upon which its class

of one claim is based.      8600 Landis, LLC, 2018 WL 1509088 at *5.        In

the Second Amended Complaint a proposed comparator is more

specifically identified; Plaintiff alleges that “the Sea Isle

Defendants have engaged in intentional and disparate treatment of

Plaintiff compared to other similarly situated Sea Isle City R-2

classified rental properties without a rational basis.”          (S.A.C. ¶

133)

       The Sea Isle Defendants argue, and this Court agrees, that the

new proposed comparator does not save Plaintiff’s equal protection

claim.      As the Sea Isle Defendants correctly observe, Plaintiff’s

case is based on the denial of permits and issuance of a Stop Work

Order for the restaurant space. (S.A.C. ¶¶ 47, 57)          The Second

Amended Complaint specifically pleads that “[o]n April 8, 2015,

Plaintiff was issued building permits for the thirteen (13)

residential units only.”      (S.A.C. ¶¶ 46)    When these allegations are

read in context with the rest of the factual allegations of the



       14
        See also, Highway Materials, Inc. v. Whitemarsh Twp., 386 F.
App’x 251, 259 (3d Cir. 2010) (quoting Eichenlaub).



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Second Amended Complaint, the disconnect between the facts and

Plaintiff’s proposed comparator becomes apparent.

     Plaintiff’s alleged injuries flow from the denial of permits

and the Stop Work Order as to the restaurant space, and Plaintiff

alleges that in this regard it was treated differently than all

other R-2 residential rental units in Sea Isle City, yet Plaintiff’s

Second Amended Complaint also alleges that “the only [other] place

with food, liquor, and lodging [all in one location] in between the

city centers of Sea Isle City and Avalon” is “Kix McNutley’s / Sea

Isle Inn.”    (S.A.C. ¶¶ 2, 76)    Thus, it must be the case that the

vast majority of R-2 classified rental spaces did not even apply

for, much less get denied or approved for, permits related to

construction of restaurant / food service space, therefore, as a

matter of logic, it cannot be that they are “alike in all relevant

respects” to Plaintiff.     8600 Landis, LLC, 2018 WL 1509088 at *5.

     Moreover, as the Sea Isle Defendants also correctly observe, on

an even more basic level, “Plaintiff’s Second Amended Complaint

fails to allege which of the[] 249 R-2 properties received building

permits and how these building permits related to the proposed R-2

use.”   (Reply Brief, Dkt 85, p. 9)        See generally, Freeman v. Town

of Hudson, 714 F.3d 29, 38 (1st Cir. 2013) (“We have held that

class-of-one claims require an extremely high degree of similarity

between the plaintiffs and the persons to whom they compare

themselves.    In the land-use context, this means more than pointing

to nearby parcels in a vacuum and leaving it to the municipality to

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disprove conclusory allegations that the owners of those parcels are

similarly situated.”).

      For these reasons, Plaintiff fails to plausibly plead an equal

protection class of one claim, and the Sea Isle Defendants’ and

Defendant Baldini’s Motions to Dismiss will be granted as to this

claim. 15

   C. Conspiracy under 42 U.S.C. §§ 1983, 1985

      Plaintiff has failed to state a claim for any constitutional

violation.   Accordingly, the conspiracy claims fail as well.

Whittaker, 437 F. App’x at 109; Perano, 423 F. App’x at 239.

      Alternatively, as the Court previously ruled, “as a matter of

law, [a class of one equal protection claim] cannot serve as the

basis for a § 1985(3) conspiracy claim.”        8600 Landis, LLC, 2018 WL

1509088, at *11 (D.N.J. Mar. 27, 2018) (collecting cases).

      The Sea Isle Defendants’ and Defendant Baldini’s Motions to

Dismiss will be granted as to the federal statutory conspiracy

claims.




      15In a letter filed with the Court long after briefing on the
instant motions was completed (see Dkt 88), Plaintiff asserts
additional facts which it says further support its equal protection
claim. As an initial matter, as discussed during a telephone
conference with the parties (Dkt 93), the Court does not construe
Plaintiff’s informal letter to be a formal motion to amend its
complaint for a third time. Moreover, none of the facts alleged in
the letter could potentially change the proposed comparator class,
and therefore such facts, if they were to be considered-- which they
are not-- would not change the Court’s disposition of the equal
protection claim.
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  D. Sherman Act

     Plaintiff’s Sherman Act claim-- the last claim asserted in the

eight-count Second Amended Complaint-- is based on the vague

assertion that issuing the Stop Work Order and refusing to issue

permits “produced adverse anticompetitive effects within the

restaurant and hospitality industry and relevant markets.”           (S.A.C.

¶ 162)

     The Court’s previous Opinion discussed the various pleading

deficiencies associated with this claim.        The Second Amended

Complaint does not adequately cure all of the deficiencies; the

pleading fails to allege sufficient facts to support a plausible

claim.   Two examples of the remaining deficiencies will suffice.

     First, nowhere does Plaintiff identify the “anticompetitive

effects” it alleges occurred in the market.        It is axiomatic that

antitrust law serves to protect competition, not competitors.           See

NYNEX Corp. v. Discon, Inc., 525 U.S. 128, 135 (1998) (in a § 1

Sherman Act case, explaining that “the plaintiff here must allege

and prove harm, not just to a single competitor, but to the

competitive process, i.e., to competition itself.”);          Deutscher

Tennis Bund v. ATP Tour, Inc., 610 F.3d 820, 829 (3d Cir. 2010)

(“Because even beneficial legitimate contracts or combinations

restrain trade to some degree, § 1 of the Sherman Act has long been

interpreted to prohibit only those contracts or combinations that

are ‘unreasonably restrictive of competitive conditions.’”) (quoting

Standard Oil Co. v. United States, 221 U.S. 1, 58 (1911)).           The

                                      17
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Second Amended Complaint merely pleads that Plaintiff, an alleged

competitor of Defendants Kix McNutley’s and Sea Isle Inn, was harmed

as a result of the alleged wrongful actions of Defendants.           Such

allegations are insufficient.

     Second, the Court agrees with Defendant Baldini’s observation

that “Plaintiff [has] offered no explanation concerning the

artificial ‘geographic market’ that it seemingly created at random.”

(Moving Brief, Dkt 87, p. 9)      The Second Amended Complaint asserts

that “the relevant geographic market for purposes of this matter are

the town centers of Sea Isle City and Avalon.”         (S.A.C. ¶ 73)    No

further factual information is provided, and it is not at all

apparent why a portion of Avalon-- a different municipality with its

own ordinances concerning zoning and liquor licenses-- should be

included in the relevant market, while a portion of Sea Isle City

should be excluded from the relevant market. 16       Plaintiff has made no

attempt to “‘define the relevant market with reference to the rule

of reasonable interchangeability and cross-elasticity of demand.’”

8600 Landis, LLC, 2018 WL 1509088 at *8 (quoting Queen City Pizza,

Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 446 (3d Cir. 1997)).

     Accordingly, the Court holds that the Second Amended Complaint

fails to state a claim for violation of the Sherman Act.

Defendants’ Motions to Dismiss will be granted as to that claim.



     16 For context, it should also be noted that Avalon and Sea
Isle City occupy separate barrier islands off the coast of New
Jersey. The islands are connected by the Townsends Inlet Bridge.
(S.A.C. Ex. A)
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IV.   CONCLUSION

      Plaintiff may, or may not, be entitled to a remedy under state

law for the harm it alleges it suffered at the hands of local zoning

officials.   As set forth above, however, this local dispute does not

rise to the level of a claim under the federal laws alleged.           Thus,

for the foregoing reasons, the Defendants’ Motions to Dismiss will

be granted as to all federal claims asserted in the Second Amended

Complaint, and pursuant to 28 U.S.C. § 1367(c)(3) this Court will

decline to exercise supplemental jurisdiction over the remaining

state law claims.    An appropriate Order accompanies this Opinion.




Dated: December 12, 2018                __ s/ Renée Marie Bumb _____
                                        RENÉE MARIE BUMB
                                        UNITED STATES DISTRICT JUDGE




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